                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
                                                   271 Cadman Plaza East
F. #2019R00102                                     Brooklyn, New York 11201



                                                   December 23, 2019

BY HAND DELIVERY AND ECF

The Honorable Raymond J. Dearie
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

              Re:    United States v. Jose Carlos Grubisich
                     Criminal Docket No. 19-102 (RJD)

Dear Judge Dearie:

               Enclosed please find a stipulation and proposed order governing discovery
materials to be provided by the government in the above-captioned case. The stipulation has
been signed by the government, the defendant Jose Carlos Grubisich and counsel for the
defendant Edward Kim, Esq. The government respectfully requests that the Court so order the
stipulation.

                                                  Respectfully submitted,

                                                  RICHARD P. DONOGHUE
                                                  United States Attorney

                                          By:     /s/ Julia Nestor
                                                  Alixandra E. Smith
                                                  Julia Nestor
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                                                  ROBERT A. ZINK
                                                  Chief, Fraud Section
                                                  Criminal Division
                                                  U.S. Dept. of Justice

                                          By:     /s/ Lorinda Laryea
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